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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:

ALEXANDER PAUL RAYMOND, Jr.                                          Case No. 8:19-bk-03835-MGW
PEGGY ANNE RAYMOND                                                   Chapter 7

             Debtor(s).
_________________________________/

                              REPORT AND NOTICE OF
                    INTENTION TO SELL PROPERTY OF THE ESTATE
          NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

          Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within 21 days from the date set forth
 on the attached proof of service, plus an additional three days for service if any party was served by
 U.S. Mail.
          If you object to the relief requested in this paper, you must file a response with the Clerk of the
 Court at 801 N. Florida Ave., Ste. 555, Tampa, FL 33602-3899, and serve a copy on the
 movant/movant’s attorney, Beth Ann Scharrer, Chapter 7 Trustee, P.O. Box 4550, Seminole, FL 33775-
 4550, and any other appropriate persons within the time allowed. If you file and serve a response within
 the time permitted, the Court will either schedule and notify you of a hearing or consider the response
 and grant or deny the relief requested without a hearing.
          If you do not file a response within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice or
 hearing, and may grant the relief requested.



TO:        Creditors, Debtors and Parties in Interest
           BETH ANN SCHARRER, the Trustee duly appointed and acting for the above-
captioned estate reports that she intends to sell 21 days from the service of this Report and
Notice on the matrix, the following property of the estate, under the terms and conditions set
forth below:
     1.       Asset:
                             Asset #       Description            Sale Amt
                                4       2005 GMC Envoy              $2,000.00
                                5       1972 Thunderbird            $2,000.00
                                6       HHG                         $1,000.00
                                        TOTALS                      $5,000.00
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   2.      Manner of Sale: Private Sale
   3.      Terms of Sale:
           A. To: Debtors Alexander Paul Raymond, Jr. and Peggy Anne Raymond
           B. Sale Price: Total is $5,000
           C. 1. All rights, title, and interest of bankruptcy estate, if any.
               2. Subject to all liens and encumbrances, and subject also to allowed
               exemptions. No warranties of no liens. No warranties of any kind.
        The Trustee will entertain any higher bids for the purchase of the assets of this estate
which the Trustee proposes to sell. Such bids must be in writing and accompanied by a
deposit of 100% of the proposed higher purchase price. Any higher bid must be received by
the Trustee at the address listed below no later than the close of business on 21 days from the
date of the service of the Report and Notice on the matrix as indicated below. If more than
one bid has been received, an auction will occur among said bidder after 21 days.


                                                  Respectfully submitted,

                                                  /s/ Beth Ann Scharrer
                                                  Beth Ann Scharrer, Trustee
                                                  PO Box 4550
                                                  Seminole, FL 33775-4550
                                                  (727) 392-8031


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on, August 1, 2019 the foregoing was provided by U.S.
Mail or electronically U. S. Trustee, Debtor(s) and Debtor Attorney, the attached creditor
matrix.

                                                  /s/ Beth Ann Scharrer
                                                  Beth Ann Scharrer, Trustee
